Case 17-33059-CMG                   Doc 33 Filed 05/12/18 Entered 05/13/18 00:40:58                             Desc Imaged
                                         Certificate of Notice Page 1 of 3

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      'LVWULFWRI1HZ-HUVH\
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      &DSWLRQLQ&RPSOLDQFHZLWK'1-/%5E

      $OEHUW5XVVR
      &1                                                                                 Order Filed on May 10, 2018
                                                                                                        by Clerk
      7UHQWRQ1-                                                                     U.S. Bankruptcy Court
                                                                                  District of New Jersey

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 DATED: May 10, 2018




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Case 17-33059-CMG           Doc 33 Filed 05/12/18 Entered 05/13/18 00:40:58                           Desc Imaged
                                 Certificate of Notice Page 2 of 3



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VFDVHLVGLVPLVVHGIRU


              ODFNRISURVHFXWLRQ

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      3XUVXDQW WR 86&  E WKLV FRXUW IRU FDXVH UHWDLQV MXULVGLFWLRQ RYHU DQ\ DSSOLFDWLRQ ILOHG
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      $Q\ IXQGV KHOG E\ WKH &KDSWHU 6WDQGLQJ 7UXVWHH IURP SD\PHQWV PDGH RQ DFFRXQW RI WKH
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      H[FHSWDQ\DGHTXDWHSURWHFWLRQSD\PHQWVGXHXQGHUWKHSURSRVHGSODQRUE\&RXUWRUGHU


      $Q\ 2UGHU WR (PSOR\HU WR 3D\ WKH &KDSWHU 7UXVWHH WKDW KDV EHHQ HQWHUHG LQ WKLV FDVH LV
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      $OO RXWVWDQGLQJ IHHV GXH WR WKH &RXUW DUH GXH DQG RZLQJ DQG PXVW EH SDLG ZLWKLQ GD\V RI WKH
      GDWHRIWKLVRUGHU




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      Case 17-33059-CMG                Doc 33 Filed 05/12/18 Entered 05/13/18 00:40:58                               Desc Imaged
                                            Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 17-33059-CMG
Janet M Booher                                                                                             Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-3                  User: admin                        Page 1 of 1                          Date Rcvd: May 10, 2018
                                      Form ID: pdf903                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 12, 2018.
db             +Janet M Booher,   18 Laurelwood Drive,   Bernardsville, NJ 07924-2115

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 12, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 10, 2018 at the address(es) listed below:
              Albert Russo    docs@russotrustee.com
              Bruce H Levitt   on behalf of Debtor Janet M Booher blevitt@levittslafkes.com,
               sslafkes@levittslafkes.com;lspcattorneys@gmail.com;hbr69524@notify.bestcase.com
              Charles G. Wohlrab   on behalf of Creditor   PNC BANK, NATIONAL ASSOCIATION cwohlrab@logs.com,
               njbankruptcynotifications@logs.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                             TOTAL: 4
